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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE SOULE,
ALICE WASHINGTON, CLEE EARNEST
LOWE, DAVANTE LEWIS, MARTHA DAVIS,
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE                       3:22-cv-00211-SDD-SDJ
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,

                              Plaintiffs,

       v.

NANCY LANDRY, in her official capacity as
Secretary of State of Louisiana

                              Defendant.

               EX PARTE MOTION TO ADMIT COUNSEL PRO HAC VICE

       In accordance with Local Civil Rule 83(b)(8) governing visiting attorneys to the United

States District Court for the Middle District of Louisiana, the undersigned John Adcock, counsel

of record for Plaintiffs, respectfully requests that this Court permit attorney Daniel J. Hessel to

appear and participate pro hac vice as counsel on behalf of Plaintiffs.

       1.      Mr. Hessel is a licensed attorney admitted to practice in State of New York.

He is a member in good standing of the Bar of the State of New York.

       2.      Pursuant to Local Civil Rule 83(b)(8), a declaration under oath by Mr. Hessel is

attached here as Exhibit A swearing that no disciplinary proceedings or criminal charges have been

instituted against him. That declaration also contains the oath required by Local Civil Rule

83(b)(8)(D).

       3.      Also pursuant to Local Civil Rule 83(b)(8), a Certificate of Good Standing from

the State of New York is attached to Mr. Hessel’s declaration.
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WHEREFORE, John Adcock, a member of the bar of this Court in good standing, pray that this

Court enter an order permitting Daniel J. Hessel to appear pro hac vice for Plaintiffs in the above-

captioned matter.



 Dated: February 7, 2024

                                                            Respectfully submitted,

                                                            By: /s/ John Adcock

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                                                            Counsel for Robinson Plaintiffs
